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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                  8:13CR212

      vs.
                                                                 ORDER
EDDIE GLASS,

                    Defendant.

The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the
Financial Affidavit, I find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal
Justice Act Plan for the District of Nebraska.

 IT IS ORDERED that Michael D. Nelson is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

 IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
provide counsel with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.

 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska and Michael D. Nelson.

      DATED this 7th day of June, 2013.

                                            BY THE COURT:

                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
